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15

16                              UNITED STATES DISTRICT COURT

17                             NORTHERN DISTRICT OF CALIFORNIA

18                                     SAN JOSE DIVISION

19

20 TEVA PHARMACEUTICALS USA, INC.,                  Case No. 5:24-cv-03567-BLF

21                Plaintiff,                        Honorable Beth Labson Freeman

22         vs.                                      DEFENDANTS’ ADMINISTRATIVE
                                                    MOTION AND [PROPOSED] ORDER TO
23 CORCEPT THERAPEUTICS, INC., et al.,              CONTINUE INITIAL CASE
                                                    MANAGEMENT CONFERENCE
24                Defendants.

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                                                                   Case No. 5:24-cv-03567-BLF
      DEFENDANTS’ ADMIN. MOT. AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONF.
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 1          Pursuant to Civil Local Rule 7-11, Defendants Corcept Therapeutics, Inc. and Optime Care

 2 Inc. (collectively “Defendants”) respectfully move for an order continuing the Initial Case

 3 Management Conference in this matter.

 4          On June 25, 2024, the Court set the Initial Case Management Conference in this matter for

 5 October 31, 2024, which in turn set the deadline for the parties’ initial Rule 26(f) conference as
 6 October 10. Dkt. 14; see FED. R. C IV. P. 26(f)(1). On August 26, Defendants moved to dismiss Teva’s

 7 complaint and simultaneously sought stays of discovery pending the resolution of its motion to

 8 dismiss. Dkt. 34-37. In their motions to dismiss and accompanying motions to stay, Defendants
 9 identified multiple, potentially dispositive infirmities in Teva’s case that more than justified a limited

10 stay of burdensome antitrust discovery while the Court evaluated whether Teva stated any viable

11 claims. On September 9, Teva filed an opposition to the motion to stay discovery that indicated it

12 intended to oppose Defendants’ motions to dismiss, rather than amend its complaint. Dkt. 38.

13 Defendants’ reply briefs in support of their motions to stay were due on September 16. See Civil

14 Local Rule 7-3.

15          Nevertheless, on September 13—the last business day before briefing on Corcept’s motion to

16 stay was set to complete—Teva filed an amended complaint, thus voiding Defendants’ pending

17 motions. Dkt. 39, 40. Teva’s late-filed amendment made only minor changes to its complaint,

18 including removing certain demonstrably false allegations that Defendants had brought to Teva’s

19 attention almost three weeks prior, but otherwise making only minor changes to the remainder of the

20 allegations. Teva’s amendment did not address any of the fundamental infirmities Defendants raised
21 in their motions to dismiss, and, if anything, only introduced new arguments for dismissal.

22          The timing of Teva’s amendment appears intended to delay a ruling on Defendants’ motions

23 to stay discovery until after the October 10 deadline for the parties’ Rule 26(f) conference. By
24 delaying the Court ruling until after the Rule 26(f) conference, Teva apparently hopes to begin seeking

25 burdensome and competitively sensitive discovery (regardless of the viability of its claims and the

26 other equitable bases for staying discovery) before the Court has an opportunity to rule on any motion

27 to stay discovery.

28          Defendants intend to file a renewed joint motion to dismiss and renewed motion to stay

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 1 discovery pending that dismissal motion. However, given Teva’s tactically-late-filed amended

 2 complaint, it is no longer possible for the Court to rule on Defendants’ motion to stay before the

 3 October 10 Rule 26(f) deadline, nor the corresponding case management report and initial disclosures,

 4 each then due by October 24, 2024. That is particularly true because Teva’s counsel has requested

 5 that Defendants agree to a hearing on the dismissal motions in late February 2025, in order to
 6 accommodate one of Teva’s core attorneys’ parental leave. Defendants are more than fine with that

 7 request due to basic professionalism and humanity. However, their willingness to accommodate such

 8 an important life event does not mean they should have to endure three months of sprawling and
 9 ultimately futile antitrust discovery due to their flexibility. Thus, in order to allow the Court a full

10 opportunity to rule on Defendants’ motion to stay discovery and thereby avoid unnecessary disputes

11 prompted by Teva’s tactics, Corcept respectfully requests that the Court continue the Initial Case

12 Management Conference currently set for October 31, which will in turn adjust the deadline for the

13 parties’ Rule 26(f) conference. See FED. R. CIV. P. 26(f)(1).

14          As for the specific date, Defendants believe the Court should continue the Initial Case

15 Management Conference for as long as the Court deems proper. Under the parties’ stipulated briefing

16 schedule, see Dkt. 42, Defendants will submit their renewed motion to stay discovery concurrently

17 with their renewed motion to dismiss on October 14, which will result in the parties completing

18 briefing on the motion to stay on November 4. Depending on the Court’s preferences, that would

19 mean that an Initial Case Management Conference in December or January may provide enough time

20 to assess the parties’ submissions and decide whether the Court believes a stay is warranted.
21 Defendants also do not object to a February 2025 Initial Case Management Conference, on the same

22 date as the motion to dismiss hearing.

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1                                   [PROPOSED] ORDER

2         IT IS SO ORDERED. The Initial Case Management Conference scheduled for October 31,

3 2024 is hereby continued. The Initial Case Management Conference will instead be held on

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7 DATED: _______________________                 ____________________________________
                                                 The Honorable Beth Labson Freeman
8                                                United States District Judge
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1 DATED: September 18, 2024

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 1                            CIVIL LOCAL RULE 5-1 ATTESTATION

 2          I, Robert W. Stone, am the ECF user whose credentials were utilized in the electronic filing

 3 of this document. In accordance with Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in

 4 the filing of this document has been obtained from each of the signatories listed above.

 5
 6 DATED: September 18, 2024

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 8
                                                 By          /s/ Robert W. Stone
 9                                                    Robert W. Stone

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12                                   CERTIFICATE OF SERVICE

13          I hereby certify that on this 18th day of September 2024, I electronically transmitted the

14 foregoing document to the Clerk’s Office using the CM/ECF System, causing it to be electronically

15 served on all attorneys of record.

16

17                                               By          /s/ Robert W. Stone
18                                                    Robert W. Stone

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